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                                                        Exhibit H - U.S. Patent No. 10,628,820

 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 11[Pre]: An online payment   The combination of an Apple Pay and/or Apple Wallet-enabled computing device with an Apple Card is an online payment
 system, the system           system.
 comprising:




                              See, e.g., Apple Card, Apple, https://www.apple.com/apple-card/; Apple Pay, Apple, https://www.apple.com/apple-pay/;
                              Devices compatible with Apple Pay, Apple (Mar. 6, 2024), https://support.apple.com/en-us/102896.




                              See, e.g., How to make purchases with Apple Card, Apple (Aug. 30, 2024), https://support.apple.com/en-us/104951.
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 Claim Language                 Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 11[a]: a thin payment device   The Apple Card is a thin shaped body having no fixed payment numbers disposed thereon.
 comprising no fixed payment
 numbers visible thereon; and




                                See, e.g., Apple Card, Apple, https://www.apple.com/apple-card/.
 11[b]: a personal computing    An Apple Pay and/or Apple Wallet-enabled computing device is a personal computing device.
 device, wherein the personal
 computing device comprises:




                                See, e.g., Apple Pay, Apple, https://www.apple.com/apple-pay/; Devices compatible with Apple Pay, Apple (Sept. 24, 2024),
                                https://support.apple.com/en-us/102896.
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 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 11[c]: a processor;          An Apple Pay and/or Apple Wallet-enabled computing device includes a processor.




                              See, e.g., Mac, Apple, https://www.apple.com/mac/.




                                                                                                                [. . .]



                              See, e.g., iPad, Apple, https://www.apple.com/ipad/.
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 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                                                                                                                   [. . .]



                              See, e.g., iPhone, Apple, https://www.apple.com/iphone/.




                                                                                                                         [. . .]



                              See, e.g., Watch, Apple, https://www.apple.com/watch/.




                              See, e.g., Apple Vision Pro – Tech Specs, Apple, https://www.apple.com/apple-vision-pro/specs/.
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                              See, e.g., Apple Platform Security, How Apple Pay keeps users’ purchases protected, Apple (Feb. 18, 2021),
                              https://support.apple.com/guide/security/how-apple-pay-keeps-users-purchases-protected-seccb53a35f0/web.
 11[d]: a memory;             An Apple Pay and/or Apple Wallet-enabled computing device includes a memory.




                              See, e.g., What's the difference between device storage and iCloud storage?, Apple (Sept. 16, 2024), https://support.apple.com/
                              en-us/102670; If your Apple Watch storage is full, Apple (Sept. 16, 2024), https://support.apple.com/en-us/102407; Apple
                              Vision Pro – Tech Specs, Apple, https://www.apple.com/apple-vision-pro/specs/ (noting available capacities of 256GB, 512GB,
                              1TB).




                              See, e.g., Apple Platform Security, How Apple Pay keeps users’ purchases protected, Apple (Feb. 18, 2021),
                              https://support.apple.com/guide/security/how-apple-pay-keeps-users-purchases-protected-seccb53a35f0/web.
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 Claim Language                 Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 11[e]: a wireless interface;   An Apple Pay and/or Apple Wallet-enabled computing device includes a wireless interface.




                                See, e.g., Connect to Wi-Fi on your iPhone, iPad, or iPod touch, Apple (May 20, 2024), https://support.apple.com/en-us/
                                111107.




                                See, e.g., Use cellular data on your iPhone or iPad, Apple (Sept. 16, 2024), https://support.apple.com/en-us/109323.




                                See, e.g., Connect your Apple Watch to Wi-Fi, Apple (Apr. 26, 2024), https://support.apple.com/en-us/111818.
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 Claim Language                 Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                See, e.g., Set up cellular on Apple Watch, Apple (Jul. 10, 2024), https://support.apple.com/en-us/119601.
 11[f]: a display operable to   An Apple Pay and/or Apple Wallet-enabled computing device includes a display operable to provide a visual user-interface for
 provide a visual user-         performing online transactions.
 interface operable for
 performing online
 transactions; and




                                See, e.g., Mac, Apple, https://www.apple.com/mac/.
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 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                                                                                                [. . .]


                              See, e.g., iPad, Apple, https://www.apple.com/ipad/.




                              See, e.g., Compare iPhone Models, Apple, https://www.apple.com/iphone/compare/.
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 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                                                                                                      [. . .]



                              See, e.g., Watch, Apple, https://www.apple.com/watch/.




                              See, e.g., Apple Vision Pro – Tech Specs, Apple, https://www.apple.com/apple-vision-pro/specs/.




                              See, e.g., 9to5Mac, iOS 17.4 – 30+ New Changes and Features, YouTube (Feb. 28, 2024),
                              https://www.youtube.com/watch?v=wT5osIMpyuQ&t=635s.
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 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                              See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626; Apple Vision Pro
                              User Guide, Use Apple Pay in apps and Safari on Apple Vision Pro, Apple, https://support.apple.com/guide/apple-vision-
                              pro/use-apple-pay-in-apps-and-safari-tanf3cf449bb/1.0/visionos/1.0.
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 Claim Language                  Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
 11[g]: a user-interface         An Apple Pay and/or Apple Wallet-enabled computing device includes a user-interface coupled to the processor.
 coupled to the processor, and




                                 See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
 11[h]: wherein the wireless     The wireless interface of the Apple Pay and/or Apple Wallet-enabled computing device is operable to wirelessly obtain card
 interface is operable to        device payment account information.
 wirelessly obtain card device
 payment account information,
 and                                                                                                                      [. . .]




                                 See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554; Starriah,
                                 Apple Wallet requires internet connection to add credit card?, Apple Support Community (Mar. 29, 2019),
                                 https://discussions.apple.com/thread/250267325?sortBy=best.
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 Claim Language                  Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                 See, e.g., Prashant Ram, How Apple Pay works under the hood?, codeburst (Nov. 5, 2019), https://codeburst.io/how-does-apple-
                                 pay-actually-work-f52f7d9348b7.




                                 How to make purchases with Apple Card, Apple (Sept. 18, 2024), https://support.apple.com/en-us/104951.
 11[i]: wherein the processor    The processor of the Apple Pay and/or Apple Wallet-enabled computing device is operable to generate limited-use payment
 is operable to generate         information based on the card device payment account information.
 limited-use payment
 information based on the card
 device payment account                                                                                         [. . .]
 information, and
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 Claim Language                   Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
                                                                                                                  [. . .]




                                  See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554; Apple
                                  Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/security/
                                  payment-authorization-with-apple-pay-secc1f57e189/web.




                                  See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
 11[j]: wherein the personal      The Apple Pay and/or Apple Wallet-enabled computing device is operable to generate complete payment information, including
 computing device is operable     the limited-use payment information, and to convey said complete payment information via at least one interface of a set
 to generate complete payment     comprising: said display; and the wireless interface.
 information, including the
 limited-use payment
 information, and to convey                                                                                       [. . .]
 said complete payment
 information via at least one
 interface of a set comprising:
 said display; and the wireless
 interface, and
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 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card
                                                                                                              [. . .]




                              See, e.g., Apple Pay security and privacy overview, Apple (Apr. 12, 2024), https://support.apple.com/en-us/101554; Apple
                              Platform Security – Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/security/
                              payment-authorization-with-apple-pay-secc1f57e189/web.




                                                                                                                                              [. . .]




                                                                                                              [. . .]
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 Claim Language               Apple Pay and/or Apple Wallet-Enabled Computing Device with Apple Card




                                                                                                          [. . .]




                              See, e.g., Payment token format reference, Apple Developer, https://developer.apple.com/documentation/
                              passkit_apple_pay_and_wallet/apple_pay/payment_token_format_reference; PKPayment, Apple Developer,
                              https://developer.apple.com/documentation/passkit_apple_pay_and_wallet/pkpayment.
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                                  How to make purchases with Apple Card, Apple (Sept. 18, 2024), https://support.apple.com/en-us/104951.




                                  See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Oct. 13, 2023), https://support.apple.com/en-us/102427.
 11[k]: wherein the limited-      The limited-use payment information generated by an Apple Pay and/or Apple Wallet-enabled computing device is configured
 use payment information is       to be used in place of a card issuer payment information.
 configured to be used in place
 of a card issuer payment
                                                                                                                  [. . .]
 information.




                                  See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.




                                  How to make purchases with Apple Card, Apple (Sept. 18, 2024), https://support.apple.com/en-us/104951.
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                              See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
